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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


  ______________________________
  UNITED STATES OF AMERICA, )
                              )
             Plaintiff,       )
                              )
  v.                          )
                              )
  JANICE ELEANOR TURNER and )                  CASE NO. 24-CR-60126-LEIBOWITZ
  KISEAN PAUL ANDERSON, a/k/a )
  SEAN KINGSTON,              )
             Defendants.      )
  ______________________________)




    DEFENDANTS’ MOTION TO DISMISS INDICTMENT, OR ALTERNATIVELY TO
   CONDUCT DISCOVERY AND SET AN EVIDENTIARY HEARING FOR SELECTIVE
                    AND VINDICTIVE PROSECUTION




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                        IN THE UNITED STATES DISTRICT COURT
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  ______________________________
  UNITED STATES OF AMERICA, )
             Plaintiff        )
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  v.                          )
                              )
  JANICE ELEANOR TURNER and )                          CASE NO. 24-CR-60126-LEIBOWITZ
  KISEAN PAUL ANDERSON, a/k/a )
  SEAN KINGSTON,              )
             Defendants.      )
  ______________________________)
     DEFENDANTS’ MOTION TO DISMISS INDICTMENT OR ALTERNATIVELY TO
      CONDUCT DISCOVERY AND REQUEST FOR AN EVIDENTIARY HEARING
          DUE TO VINDICTIVE AND SELECTIVE PROSECUTION WITH
                  INCORPORATED MEMORANDUM OF LAW


         Defendants by and through their respective undersigned counsel move this Honorable

  Court to dismiss indictment based upon a vindictive and selective prosecution which violates the

  equal protection component of the Due Process Clause of the United States Constitution or

  alternatively to permit discovery and set an evidentiary hearing and allege as follows:

                                   FACTUAL BACKGROUND

         The indictment involves allegations of wire fraud committed by the defendants. Briefly

  stated, the alleged victims of the wire fraud entered into oral contracts with the defendants. The

  defendants would send the victims sizable monetary deposits. In return to pay off the balance of

  the cost of merchandise, the defendant KINGSTON would agree to promote the merchandise by

  endorsing and recommending to his fellow performers to use and purchase merchandise from the


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  complaining witnesses for their benefit and pay off any balance. There was no date certain as to

  when the oral contract would be satisfied. At some point, some of the complaining witnesses

  became dissatisfied with the defendants and sought the assistance of the Broward Sheriff’s

  Office to recover the merchandise. On May 24th, 2024, the Sheriff’s office entered the

  defendants’ residence and searched for the merchandise pursuant to a state search warrant. It is

  noteworthy that no federal agents or federal law enforcement participated in the search. Both

  defendants were arrested on May 24th, 2024. On June 5th, 2024 both defendants posted a

  corporate bond which required a 10% premium. It was not until almost two (2) months later that

  the State filed the information against both defendants. A copy of the information is attached as

  “Exhibit 1”. The State then scheduled the arraignment for August 26th, 2024. This was now

  three (3) months post arrest.

         The federal indictment was filed on July 12th, 2024. Eleven days later, on July 22nd,

  2024, the State filed the information. Although neither defendant had been arrested by federal

  agents, an indictment was returned against the defendants. A voluntary surrender was arranged

  on July 19th, 2024 and the defendants for the second time posted bond.

         It is readily apparent that during this time, the state and federal prosecutors were working

  together to not only insure that the indictment was filed before the information, but made sure

  that the indictment alleged violation of wire fraud only pursuant 18 U.S.C. 1343 and 1349, while

  the state information alleged violation which consisted of grand theft and other charges and

  carefully steered away from invoking Fla.Stat. 817.034 which is the state’s wire fraud statute.

  The defendants have entered not guilty pleas and demanded a jury trial in state and before this

  Honorable Court.


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                           DUAL AND SUCCESSIVE PROSECUTIONS

         The Department of Justice (“DOJ”) has established a policy concerning dual and

  successive prosecutions as set forth in Principles of Federal Prosecutions Justice Manual,

  9-2:031(5) (“JM”). The purpose of this policy is in part to protect persons charged with criminal

  conduct from the burdens associated with multiple prosecutions and punishments for

  substantially the same act(s) or transaction(s). See JM-9-2.031. In order for a federal prosecutor

  to proceed when there are state charges based upon the same acts or transactions, the policy must

  satisfy three (3) prerequisites. First, the matter must involve a substantial federal interest. This

  matter fails this requirement. While the indictment alleges violations of 18 U.S.C. 1343 and

  1349, it hardly is a “substantial federal interest”. While not minimizing the charges, this

  indictment concerns alleged losses to the complaining witnesses of approximate one million

  dollars. The defense believes is is far less but even assuming the government estimate is correct,

  the losses are far less than otherwise fraud cases filed in this district. Next, the state prosecution

  must have left that interest not vindicated. The State could (and still can) have filed the wire

  fraud allegation under Florida Law. However, the apparent agreement between the state

  prosecutors and AUSA Anton, was carefully crafted that the State would avoid any wire fraud

  counts while the indictment would allege violations of 18 U.S.C. 1343-1349. The federal

  prosecutor cannot assert this reason as justification for dual prosecution of the defendants in that

  they orchestrated this situation. This reminds us of the old example of the child who slays his

  parents and then asks for sympathy because he or she is an orphan. The last prerequisite is not

  relevant in that the first two have not been met. The State has veteran able prosecutors who can


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  present the same wire fraud allegations that exist in the indictment. Thus the federal interest is

  vindicated and the continuation of federal charges are unwarranted at this time.

         The DOJ policy requires that federal prosecutors should, as soon as possible, consult with

  the state counterparts to determine the APPROPRIATE SINGLE FORUM (emphasis added) in

  which to proceed to satisfy the federal and state interest involved, and if possible to resolve all

  criminal liability for the acts in question. (See JM-9-2.031(1). This policy applies even where a

  state prosecution would not ban a subsequent federal prosecution under the Double Jeopardy

  Clause. United States v. Dixion, 509 U.S. 688 (1993); Blockburger v. United States, 284 U.S. 299

  (1932). In summary, there is no valid reason as to why the indictment should remain pending in

  federal court as the State of Florida is the most appropriate single forum to address these acts or

  transactions. In addition, under JM-9-2.031, this matter should have been submitted to the

  Assistant Attorney General and written consent must be obtained before bringing a prosecution

  governed by this policy. JM-9-2.031 requires that “the United States will move to dismiss any

  prosecution governed by this policy in which approval was not obtained”.

         The defendants have not received any such written approval in discovery.                The

  government should either furnish proof to the court and defense counsel that an Assistant

  Attorney General has provided the necessary approval, if not, this indictment is required to be

  dismissed by the government or this Court.

         We recognize that the failure to follow DOJ’s own justice manual does not create rights

  that may be enforced by defendants against the Department. However “the government’s failure

  to follow its normal prosecution practices mandates stricter judicial scrutiny of the prosecution.

  See Haggerty at 528 F.Supp. at pg. 1192.


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                  THE DEFENDANTS ARE VICTIMS OF VINDICTIVE AND
                            SELECTIVE PROSECUTION


         The indictment of the defendants reflects a selective and vindictive prosecution and

  should be dismissed in accordance with the due process and equal protection components of the

  Fifth Amendment. The legal necessity of dismissing a selective and vindictive prosecution has

  occurred because it is difficult to prove what is in the mind of prosecutors. See e.g. United States

  v. Armstrong, 517 U.S. 456-465 (1996). However, the evidence in this case shows that the

  defendants are the victims of a selective and vindictive prosecution as will be demonstrated.

         Vindictive prosecution is a species of selective prosecution where an accused must prove

  by a preponderance of the evidence that “(I) the prosecutor harbored genuine animus; and (2)

  absent this motive, defendant would not have been prosecuted”. Monsooor, 77 F.3d at 1034

  (citations omitted). This can be done in “one of two ways: (1) present objective evidence that a

  prosecutor’s actions were designed to punish him or her for asserting his or her legal rights,

  which is proof of actual vindictiveness; or (2) show sufficient facts to give rise to a presumption

  of vindictiveness, which may be overcome by objective evidence justifying the prosecutor’s

  actions.: United States v. Williams, 2020 WL 5960689, at *10 (E.D. La. Oct. 8th, 2020). An

  important difference between this claim and one for selective prosecution is that a presumption

  of vindictiveness may apply even absent proof of improper motive … where there exists a

  realistic likelihood of vindictiveness.” Id. (Citations omitted); United States v, Velsicol Chem.

  Corp., 498 F.Supp 1255, 1263-64 (D.D.C. 1980) (“The vindictive prosecution doctrine reaches




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  all prosecutions that pose a realistic likelihood of vindictiveness, whether or not the prosecutor

  acted out of vindictiveness in fact.”) (citations omitted).

         Prosecution is vindictive when the prosecutor acts on his own animus or “was prevailed

  upon to bring the charges by another animus.”. United States v. Koh, 199 F.3d 632, 640 (2d Cir.

  1999); Monsoor, 77 F.3d at 1035 (where an outside party “in some way prevail[s] upon the

  prosecutor in making the decision to seek an indictment”, the “ill will, whoever its bearer”, may

  be “imputed to federal prosecutors”); Adams, 870 F.2d at 1140 (evidence that party had

  “instigated and pushed” the prosecution-supported claim that outside forces were “able to prevail

  upon the Department of Justice to institute a prosecution that [otherwise] would not have been

  undertaken”) (See defendants’ exhibit 2).        Perhaps, the prototypical example of vindictive

  prosecution is based on a desire to punish the defendant when a prosecution is based on a

  personal stake or interest. Velsicol, 498 F.Supp. at 1265 (dismissing a vindictive prosecution

  based on government’s “institutional stake” in discouraging third-party conduct and avoiding

  “contempt for federal law enforcement”); Collins v. Jones, 2015 WL 790055, at *11 (E.D. Pa.

  Feb. 24th, 2015) (vindictive prosecution includes charges “motivated by the prosecutor’s

  personal stake in the outcome of a case” (quoting United States v. Pittman, 642 F.3d 583, 586

  (7th Cir. 2011)).

         In 2005 the defendant JANICE TURNER was indicted for mortgage fraud under case

  number 05-CR-60165-WPD. AUSA Marc S. Anton was the prosecutor. Ms. Turner entered a

  plea agreement and received a sentence of 16 months of imprisonment and supervised release of

  60 months with restitution, AUSA Anton remained on the case until the supervised release was

  terminated in early 2012. AUSA dealt with Ms. Turner from June of 2005 through early 2012.


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          Ms. Turner and her son KISEAN ANDERSON a/k/a SEAN KINGSTON were arrested

  on May 24th, 2024. In that KISEAN ANDERSON a/k/a SEAN KINGSTON is a well known

  musical performer, his arrest was widely publicized locally and nationally. AUSA Anton became

  aware of the arrest of the defendants in May of 2024. According to the website of the Ft.

  Lauderdale United States Attorney’s Office, there are at least 32 attorneys in the criminal and

  civil departments. It should be noted that AUSA Anton is designated as a “national security

  section” prosecutor in the Ft. Lauderdale office. This wire fraud indictment certainly is not a

  threat to national security. In this case, there was no federal involvement other than AUSA Anton

  bringing the indictment. There were no federal agents at the search and no federal arrests until

  the voluntary surrender to the Marshalls on July 19th, 2024. It cannot be a coincidence that of all

  of the prosecutors in the U.S. Attorney’s Office that AUSA Anton was randomly assigned to this

  case.   This has the appearance of vindictiveness which is enough to place burden on the

  prosecution to show a legitimate motive. United States v. Ruesga-Martinez 534 F.2d 1367, 1369

  (9th Cir. 1976). It is apparent from the timing and the way the state and federal prosecutors

  drafted the charges that at least there is the appearance of vindictiveness. In United States v.

  Groves, 571 F.2d 450 (9th Cir. 1978) held that the timing of a subsequent indictment can render

  it suspect. In United States v. Adams, 870 F.2d 1140 (6th Cir 1989) the Court found that there

  might have been a likelihood of vindictiveness based upon a prosecutorial intent to punish the

  defendant. Id. at 1145-1146. The Court found that the defendant’s evidence presented a

  suspicious reasoning behind the prosecutor’s action. The Court noted that it could not recall an

  instance in which a taxpayer who voluntarily amended her return and paid the deficiency had

  been prosecuted. Similarly, undersigned counsel cannot recall a similar wire fraud case has been


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  prosecuted separately in State and Federal courts at the same time. Perhaps the government can

  point this Court to wire fraud cases in which both, the state and federal governments were able to

  prosecute a similar defendant as Ms. Turner and Kieran Anderson a/k/a Sean Kingston. If the

  government cannot furnish this Court with others who have been prosecuted in state and federal

  court at the same time, then this shows that this prosecution is selective and vindictive.

         The facts in this case are that AUSA Anton prosecuted Ms. Turner in 2005 and stayed on

  her case through early 2012. AUSA Anton learned about the arrest of Ms. Turner on or about

  May 24th, 2024 as it was widely publicized. Thereafter, AUSA Anton discussed with the State

  prosecutor, Kathy Heaven of having the state file grand theft and criminal use of personal

  identification information that also was the basis for the federal wire fraud indictment. It was

  agreed that the indictment would be filed before the state information in order to support the

  federal jurisdiction. This forced the defendants to use their limited assets in contesting the

  indictment and information. The defendants had to post two (2) separate bonds and use their

  limited resources to retain attorneys to represent them in both state and federal court. Moreover,

  should there be convictions in state and federal court, the defendants could face consecutive

  sentences of imprisonment for same acts or transactions. In any successful wire fraud

  prosecution there always will be a grand theft as well as other possible law violations besides

  wire fraud. AUSA Anton is an AUSA in the national security section of the U.S. Attorney’s

  Office. This wire fraud has nothing to do with national security. Based on this, it appears that he

  was not randomly selected to prosecute this case. It appears that he is improperly motivated in

  this case against Ms. Turner. As Circuit Court Judge Pell wrote in United States v. Falk, 479 F.2d

  616 (7th Cir. 1973) “I offer no apologies for, non approbation of, the prosecutor who may be


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   improperly motivated in a case involving a particular individual. Such conduct is beneath both

   the dignity and the purpose of the office to which is entrusted the enforcement of our criminal

   laws on an objective basis. Because prosecutors along with the rest of public officials are subject

   to human frailties, and may on occasion let those characteristics override propriety”. Falk, at pg.

   637.

          “The judiciary has always borne the basic responsibility for protecting individuals against

   unconstitutional invasions of their rights by all branches of the Government”. Stanler v. Willis,

   415 F.2d 1365, 1369-1370 (7th Cir. 1969) Cert. denied at 399 U.S. 929 (1970). There has been a

   sufficient showing to warrant judicial inquiry into the motive of the prosecutor. Falks held that

   “because a particular department of the Government may exert its lawful powers with the object

   or motive of reaching an end not justified, therefore it becomes the duty of the judiciary to

   restrain the exercise of a lawful power wherever it seems to the judicial mind that the lawful

   power has been abused. Falk at pg. 630. Where there has been a prima facie showing of “a

   realistic likelihood of vindictiveness” it is incumbent upon the district court to conduct an

   evidentiary hearing where the government’s explanations can be formally presented and tested

   United States v. Andrews, 633 F.2d at pg. 457. And a criminal defendant “may … be entitled to

   discovery or the issue of selective prosecution if he introduces some evidence tending to show

   the existence of the essential elements of the defense. United States v. Schmucker, 815 F.2d 413,

   418 (6th Cir. 1987), quoting United States v. Mitchell, 778 F.2d 1271, 1277 (7th Cir. 1985) and

   United States v. Berrios, 501 F.2d 1207, 1211 (2nd Cir. 1974), See also United States v. Adams,

   870 F.2d 1140 (6th Cir. 1989).




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          In view of the government’s admitted policy in the justice manual, it is incumbent upon

   the government to come forward with evidence to explain why the defendants are being singled

   out for prosecution in contravention of the government’s own procedures. Haggerty, 528 F.Supp

   at 1293. “The government’s failure to follow its normal prosecutorial procedures mandates

   stricter judicial scrutiny of the prosecution”. These facts support an inference of discriminatory

   effect. The government should show the court similar cases where state and federal prosecutions

   were able to proceed together. The defendants suggest that there are similarly situated defendants

   who were not subject to state and federal prosecutions at the same time. These facts fit

   comfortably in the mold identified by the courts as supporting an appearance of vindictiveness

   that violates due process.

          It does not matter whether the improper purpose belongs to the prosecutor or a third party

   with influence, as any external interference in the independent judgment of the prosecutors is

   problematic. See United States v. Monsoor, 77 F.3d at 1035 (where outside party “ in some way

   prevails upon the prosecutor in making the decision to seek an indictment”, the “ill will, whoever

   its bearer” may be imputed to federal prosecutors”); United States v. Adams, 870 F.2d 1140, 1146

   (6th Cir. 1989) (evidence that a party had instigated and pushed the prosecution and justified

   discovery into that party “was able to prevail upon the Department of Justice to institute a

   prosecution that otherwise would not have been taken”). Whenever a prosecution is selective,

   vindictive or violates the separations of powers, the tainted charges must be dismissed. See

   United States v. Mardis, 670 F.Supp at pg. 700-701, where a defendant has demonstrated a

   “colorable claim” discovery and an evidentiary hearing should be permitted. United States v.

   Heidecke, 900 F.2d 1155, 1159 (7th Cir. 1990); United States v. Jones, 159 F.3d 969, 978, n.8


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   (6th Cir. 1998) (granting discovery to give the defendant “the opportunity to move to dismiss the

   indictment” for selective prosecution). Attached as Exhibit 2 is evidence of a third party

   threatening to approach the government to file federal charges against the defendants.



                                           CONCLUSION

          Defendants move for a court order to dismiss or alternatively enter an order granting

   discovery on the issues raised and after discovery for the court to conduct an evidentiary hearing

   to determine if dismissal of the indictment is required. The court should not hesitate to step in

   and safeguard the defendants’ rights, the independence of purity of government and the integrity

   of purity of government and the integrity of the justice system. Our society is not bettered by law

   enforcement that … is not conducted in a spirit of fairness or good faith. United States v. Banks,

   383 F.Supp at 397. This prosecution falls in that category and the Court should, if not dismiss,

   grant discovery and conduct an evidentiary hearing in these issues.

          Per this Court’s Trial Order, Defendants have attempted to ascertain AUSA Anton’s

   position on this matter. However, his emails states that he would be out of the office from

   December 23rd through December 30th, 2024 and without access to his emails. Therefore,

   Defendants are unable to represent Mr. Anton’s position with regards to this matter.




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with via e-

   portal and copied to: Marc S. Anton, AUSA, 500 East Broward Blvd., Suite 700, Ft. Lauderdale,

   Fl 33394, marc.anton@usdoj.gov, Tanya Okun at: tanya_okun@flsp.uscourts.gov and to

   trevor.jones@usdoj.gov this 31st day of December, 2024.

                                             Respectfully Submitted,

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   a/k/a Sean Kingston




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